              Case 18-12127-whd                   Doc 1     Filed 10/11/18 Entered 10/11/18 12:24:58                               Desc Main
                                                            Document     Page 1 of 11
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Thomas Ovation, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  45 Ansley Drive
                                  Newnan, GA 30263
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Coweta                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Ovation Parkway Franklin, TN 37067
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Thomas Ovation, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Northern District of
     separate list.                               District   Georgia                       When       5/17/17            Case number      17-11046
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                Relationship
                                                  District                                 When                         Case number, if known




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Debtor
                                                              Document     Page 3 of Case
                                                                                      11 number (if known)
         Thomas Ovation, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          Thomas Ovation, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ Stanley E. Thomas                                                   Stanley E. Thomas
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ David L. Bury, Jr.                                                   Date October 11, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 David L. Bury, Jr. 133066
                                 Printed name

                                 Stone & Baxter, LLP
                                 Firm name

                                 577 Mulberry Street, Suite 800
                                 Macon, GA 31201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     478-750-9898                  Email address      dbury@stoneandbaxter.com

                                 133066 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Thomas Ovation, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ashley T. Roberts                                               Commissions                                                                                              $85,000.00
 105 Pickens Drive
 Newnan, GA 30263
 B.J. Yuill                                                      Leasing                                                                                                    $2,500.00
 481 Bexton Road                                                 Consultant
 Moreland, GA 30259
 Fourth Quarter                                                  Loan                                                                                               $21,985,490.78
 Properties 100, LLC
 45 Ansley Drive
 Newnan, GA 30263
 GRE Kappa, LLC                                                  Guaranty               Contingent                                                                  $10,200,000.00
 c/o Gamma Real                                                                         Disputed
 Estate, LLC
 101 Park Avenue,
 Suite 2602
 New York, NY 10178
 Platform Real Estate                                            Leasing                                                                                                    $5,000.00
 2501 Jarrett Avenue                                             Consultant
 Austin, TX 78703
 Sherrard Roe Voigt                                              Legal Services                                                                                             $1,268.00
 & Harbeson PLC
 150 3rd Avenue
 South, Suite 1100
 Nashville, TN 37201
 SWA Group                                                       Engineering                                                                                              $10,986.45
 P.O. Box 5904                                                   Services
 Sausalito, CA 94966
 Tennessee                                                       Franchise Tax                                                                                          $212,531.00
 Department of
 Revenue
 P.O. Box 190665
 Nashville, TN 37219
 Wakefield Beasley                                               Architectural                                                                                          $243,803.40
 5200 Avalon                                                     Services
 Boulevard
 Alpharetta, GA
 30009


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Thomas Ovation, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Williamson County                                               Property Tax                                                                                           $321,559.87
 Trustee
 P.O. Box 1365
 Franklin, TN 37065




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Thomas Ovation, LLC                                                                     Case No.
                                                                                   Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 11, 2018                                           /s/ Stanley E. Thomas
                                                                        Stanley E. Thomas/Manager
                                                                        Signer/Title




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                        Ashley T. Roberts
                        105 Pickens Drive
                        Newnan, GA 30263



                        B.J. Yuill
                        481 Bexton Road
                        Moreland, GA 30259



                        Bass, Berry & Sims, LLC
                        Attn: Scott M. McLeod
                        100 Peabody Place, Suite 1300
                        Memphis, TN 38103



                        Fourth Quarter Properties 100, LLC
                        45 Ansley Drive
                        Newnan, GA 30263



                        GRE   Kappa, LLC
                        c/o   Gamma Real Estate, LLC
                        101   Park Avenue, Suite 2602
                        New   York, NY 10178



                        Michael Anthony Shaw
                        Jones Walker
                        11 N. Water Street, Suite 1200
                        Mobile, AL 36602



                        Ovation Loan Group, LLC
                        Attn: Greg Davis
                        1819 E. Southern Avenue, Suite B-10
                        Mesa, AZ 85204



                        Platform Real Estate
                        2501 Jarrett Avenue
                        Austin, TX 78703



                        Sherrard Roe Voigt & Harbeson PLC
                        150 3rd Avenue South, Suite 1100
                        Nashville, TN 37201
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                    SWA Group
                    P.O. Box 5904
                    Sausalito, CA 94966



                    Tennessee Department of Revenue
                    P.O. Box 190665
                    Nashville, TN 37219



                    Thomas Ovation I, LLC
                    45 Ansley Drive
                    Newnan, GA 30263



                    Wakefield Beasley
                    5200 Avalon Boulevard
                    Alpharetta, GA 30009



                    Williamson County Trustee
                    P.O. Box 1365
                    Franklin, TN 37065
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                                                                      Northern District of Georgia
 In re      Thomas Ovation, LLC                                                                            Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Thomas Ovation, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 11, 2018                                                      /s/ David L. Bury, Jr.
 Date                                                                  David L. Bury, Jr. 133066
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Thomas Ovation, LLC
                                                                       Stone & Baxter, LLP
                                                                       577 Mulberry Street, Suite 800
                                                                       Macon, GA 31201
                                                                       478-750-9898 Fax:478-750-9899
                                                                       dbury@stoneandbaxter.com




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